Case 1:15-cr-00383-RBJ Document 277 Filed 11/13/18 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 15–cr–00383-RBJ-01

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1. DANIEL DIRK CODDINGTON,

                     Defendant.


                  MOTION FOR LEAVE TO RESTRICT DOCUMENT


       Mr. Daniel Dirk Coddington, through undersigned counsel Kristen M. Frost and

Patrick L. Ridley of the law firm Ridley, McGreevy & Winocur, P.C., respectfully moves

to restrict [Doc. 276] the related documents and attachments, any order revealing the

contents of those documents and attachments, and the brief filed in support of this

motion, for the reasons stated in the brief filed in support of this motion. Mr. Coddington

requests a “Level 2" restriction which would make the document, any order reveling the

contents of that document and the brief filed in support of this motion, “Viewable by

Selected Parties & Court” only.
Case 1:15-cr-00383-RBJ Document 277 Filed 11/13/18 USDC Colorado Page 2 of 2




      Respectfully submitted this 13th day of November, 2018.

                                              /s/ Kristen M. Frost
                                              Kristen M. Frost
                                              Patrick L. Ridley
                                              Ridley, McGreevy & Winocur, P.C.
                                              303 16th Street, Suite 200
                                              Denver, Colorado 80202
                                              Telephone: (303) 629-9700
                                              Fax: (303) 629-8702
                                              Email frost@ridleylaw.com
                                                     ridley@ridleylaw.com

                            CERTIFICATE OF SERVICE


       I hereby certify that on this 13th day of November, 2018 I served a true and
correct copy of the foregoing MOTION FOR LEAVE TO RESTRICT electronically with
the clerk of the court via the CM/ECF system to all interested parties:

Pegeen Denise Rhyne
U.S. Attorney’s Office-Denver
1225 17th Street, Suite 700
Denver, CO 80202
Email: Pegeen.rhyne@usdoj.gove




                                               s/Polly Ashley
                                               Polly Ashley




                                          2
